Case No. 1:24-cv-02353-GPG-TPO   Document 1-7   filed 08/26/24   USDC Colorado
                                  pg 1 of 3




                     EXHIBIT B-6
Case No. 1:24-cv-02353-GPG-TPO       Document 1-7   filed 08/26/24   USDC Colorado
                                      pg 2 of 3




DISTRICT COURT, DENVER COUNTY, COLORADO
1437 Bannock St.
Denver, CO 80202
                                                    DATE FILED
                                                    August 9, 2024 10:27 AM
Plaintiff:                                          FILING ID: 14A0D66452B6B
                                                    CASE NUMBER: 2024CV32321
VICTOR MOSES,
v.
Defendants:

CITY AND COUNTY OF DENVER, COLORADO,
DENVER HEALTH AND HOSPITAL AUTHORITY,
TODD GENTRY, individually.
STEPHEN MARINO, individually;
ANTHONY NORMAN, individually;
FELIPE CERVANTES, individually;
KYLE CARTER, individually;
JOHANNA AITKEN, individually;
LISA AITKEN-NELSON, individually;
JASON MOORE, individually;
DAMON ROMAN, individually;
E. M. ALFARO, individually;                               COURT USE ONLY
BRIAN CAMOZZI, individually;                               _________________
COURTNEY WHAM, individually;
TAEGIN SUNG, individually.                                  Case No.: 24CV32321

Plaintiff’s Counsel                                            Courtroom: 280

John R. Holland, #5246
Anna Holland Edwards, #35811
Erica Grossman, #39342
Holland, Holland Edwards, & Grossman, LLC
1437 High Street
Denver, CO 80218
Phone: 303-860-1331
Facsimile: 303-832-6506
john@hheglaw.com
anna@hheglaw.com
erica@hheglaw.com

Darold W. Killmer, #16056
Reid R. Allison, # 52754
KILLMER LANE, LLP
1543 Champa St., Ste. 400
Denver, CO 80202
Case No. 1:24-cv-02353-GPG-TPO              Document 1-7        filed 08/26/24     USDC Colorado
                                             pg 3 of 3




Phone: 303-571-1000
Facsimile: 303-571-1001
dkillmer@killmerlane.com
rallison@killmerlane.com

                WAIVER OF SERVICE OF SUMMONS AND COMPLAINT

       I, Anthony E. Derwinski, do hereby certify that I am counsel for Defendants Denver
Health and Hospital Authority, Courtney Wham, and Taegin Sung in this action and am
authorized to and do hereby accept service of the Complaint and Jury Demand dated July 30,
2024, in lieu of personal service on Defendants by a certified process server. I also certify that I
have received from counsel for Plaintiff a copy of the Delay Reduction Order and Pretrial Order
entered in this matter on July 30, 2024.

       I agree to save the cost of service of a summons and an additional copy of the Complaint
and Jury Demand by not requiring that I (or on whose behalf I am acting) be served with judicial
process in the manner provided by C.R.C.P. 4.

        Pursuant to C.R.C.P. 4(i), I (or on whose behalf I am acting) will retain all defenses or
objections to the lawsuit or to the jurisdiction or venue of the court except for objections based
on a defect in the summons or in the service of the summons.


                   9th day of ______________________
       DATED this _____        August                2024.

                                              Ruegsegger Simons & Stern, LLC



                                              __________________________
                                              Anthony E. Derwinski, Esq.
                                              1700 Lincoln St., Suite 4500
                                              Denver, CO 80203
                                              T: 303.575.8026
                                              F: 303.623.1141
                                              aderwinski@rs3legal.com

                                              Attorney for Defendants Denver Health and
                                              Hospital Authority, Courtney Wham, and Taegin
                                              Sung




                                                  2
